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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     -x 2,- ^-OOQS^^A/^
 UNITED STATES OF AMERICA,
                                                                VIDEO OR TELE CONFERENCE
                      -against-
                                                                7:20-m|-07887

Jonathan Diolosa
                      Defendant(s).
                                                     -X


Defendant Jonathan Dlolosa hereby voluntarily consents to participate in the following
proceeding via E>3 videoconferencing or !S3 teleconferencing:


D Initial Appearance Before a Judicial Officer

!Z! Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
       Indicttnent Form)


D Guilty Plea/Change of Plea Hearing

D Bail/Detention Hearing

d Conference Before a Judicial Officer - Assignment of Counsel




 defendant's Signature /                            Defendants Counsel's Si^iature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

 ^jo^'th^ l/Jolo^                                     ^^o ^. G,A j.
Print Defendant's Name                              Print Counsel's Name



This proceedpg was conducted by reliable video ^ telephor^fi^f^i&in^ephn'ology.

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Dat^                                                U.S. District Judge/tLS, Magistrate JV<ige
